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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 EL DORADO DIVISION

MARIO JACKSON PALMER                                                                  PLAINTIFF

v.                                     Civil No. 1:20-cv-01055

NICOLE CARTER, JAIL ADMINISTRATOR,
ASHLEY COUNTY DETENTION FACILITY                                                    DEFENDANT

                                              ORDER

       Plaintiff, Mario Jackson Palmer, filed this action pro se pursuant to 42 U.S.C. § 1983.

(ECF No. 1). Plaintiff’s application to proceed in forma pauperis was granted on October 29,

2020. (ECF No. 3). An Amended Complaint was filed on November 13, 2020. (ECF No. 10).

       Currently before the Court is Defendant Nicole Carter’s Motion to Compel. (ECF No. 17).

Plaintiff has not responded to the Motion.

       In her motion the Defendant states that she propounded her First Set of Interrogatories and

Requests for Production of Documents to Plaintiff on March 18, 2021. The mailing was not

returned as undeliverable and the Plaintiff did not respond to the discovery requests. (ECF No.

17).

       On April 28, 2021, the Defendant attempted to resolve the discovery dispute in good faith

without court intervention and sent correspondence to Plaintiff requesting his past due discovery

responses by May 12, 2021. (ECF No. 17). The mailing was not returned and Plaintiff failed to

respond to the discovery requests. Id.

       Under the Federal Rules of Civil Procedure, Plaintiff is afforded thirty (30) days to respond

to discovery requests. Fed. R. Civ. P. 33(b)(2) & 34(b)(2)(A). To properly defend against

Plaintiff’s claims, the Defendant is entitled to Plaintiff’s discovery.




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       Accordingly, Defendant’s Motion to Compel (ECF No. 17) is GRANTED. Plaintiff is

DIRECTED to provide the Defendant with the required responses to the discovery requests by

June 22, 2021. Plaintiff is advised that failure to comply with this Order shall result in the

dismissal of this case.

       IT IS SO ORDERED this 1st day of June 2021.

                                                          /s/ Barry A. Bryant
                                                          HON. BARRY A. BRYANT
                                                          UNITED STATES MAGISTRATE




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